     Case 1:07-cv-00316-OWW-GSA Document 174 Filed 02/27/09 Page 1 of 2

 1   Karen L. Lynch, No. 161088
     A Professional Corporation
 2   1204 W. Shaw Avenue, Suite 102
     Fresno, California 93711
 3   Telephone: (559) 478-4370
     Facsimile: (559) 478-5073
 4
     Attorneys for Defendant, MARTIN SOLIS
 5
 6
 7
                            UNITED STATES DISTRICT COURT
 8                 EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
 9
     KIMBERLY BARSAMIAN,                                 Case No. 1:07-cv-00316 OWW/GSA
10
                          Plaintiff,                     ORDER RE: DEFENDANT, SOLIS’,
11                                                       MOTION IN LIMINE NUMBER 4 TO
             vs.                                         EXCLUDE TESTIMONY
12                                                       REGARDING INSURANCE AND/OR
     CITY OF KINGSBURG, MARTIN SOLIS,                    INDEMNITY
13   individually and in his official capacity as a
     Police Officer for the City of Kingsburg Police
14   Department and DOES 1 through 100,
     inclusive,                                          Date: February 20, 2009
15                                                       Time: 11:00 a.m.
                          Defendants.                    Courtroom: 3
16
                                                         Trial: March 3, 2009
17
18           The Motion in Limine of Defendant, MARTIN SOLIS, to Exclude Testimony
19
     Regarding Insurance and/or Indemnity, came on for hearing before this Court, Attorney
20
     Peter Kapetan appearing for Plaintiff, KIMBERLY BARSAMIAN, Attorney Alfred Gallegos
21
     appearing for Defendant, CITY OF KINGSBURG, and Attorney Karen L. Lynch
22
23   appearing for Defendant, MARTIN SOLIS.            After consideration of the briefs and

24   arguments of counsel, and all other matters presented to the Court, IT IS HEREBY

25   ///
26
     ///
27
     ///
28

           ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 4 TO EXCLUDE TESTIMONY
                         REGARDING INSURANCE AND/OR INDEMNITY – Page 1
     Case 1:07-cv-00316-OWW-GSA Document 174 Filed 02/27/09 Page 2 of 2

 1   ORDERED that Defendant, MARTIN SOLIS’, Motion in Limine to Exclude Testimony

 2   Regarding Insurance and/or Indemnity is GRANTED.
 3
     DATED: _2/26/2009_____
 4
                                                __/s OLIVER W WANGER_______
 5                                              UNITED STATES DISTRICT JUDGE
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

        ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 4 TO EXCLUDE TESTIMONY
                      REGARDING INSURANCE AND/OR INDEMNITY – Page 2
